Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 1 of 32




     EXHIBIT 11
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 2 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 3 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 4 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 5 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 6 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 7 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 8 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 9 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 10 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 11 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 12 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 13 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 14 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 15 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 16 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 17 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 18 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 19 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 20 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 21 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 22 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 23 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 24 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 25 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 26 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 27 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 28 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 29 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 30 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 31 of 32
Case 1:24-cv-03287-AT   Document 88-11   Filed 11/19/24   Page 32 of 32
